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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


Stultz,                                        )              CASE NO. 1: 12 CV 01316
                                               )
                 Plaintiff,                    )              JUDGE DONALD C. NUGENT
                                               )
          v.                                   )
                                               )
Advanstar Communications, Inc. et al.,         )              ORDER
                                               )
                 Defendants.                   )



          Counsel for the parties have informed the Court that this matter has been resolved.

Accordingly, this case is DISMISSED. All pending motions are moot. The parties may file

additional documentation within 30 days from the date of this Order, if they so choose.



IT IS SO ORDERED.


                                               s/Donald C. Nugent
                                               DONALD C. NUGENT
                                               UNITED STATES DISTRICT JUDGE

DATED: December 11, 2013
